Case 6:20-cv-01197-RRS-PJH Document 60 Filed 06/08/21 Page 1 of 1 PageID #: 350




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

 CHANTAL SAUCIER, ET AL.                              CIVIL ACTION NO. 6:20-cv-01197

 VERSUS                                               JUDGE SUMMERHAYS

 CHUCKWUDI UCHENDU, M.D.,                             MAGISTRATE JUDGE HANNA
 ET AL.

                                          JUDGMENT

        This matter was referred to United States Magistrate Judge Patrick J. Hanna for report and

 recommendation. After an independent review of the record, and noting the absence of any

 objections, this Court concludes that the Magistrate Judge’s report and recommendation is correct

 and adopts the findings and conclusions therein as its own. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that Dr. Uchendu’s motion to dismiss

 for lack of jurisdiction (Rec. Doc. 10) is DENIED;

        IT IS ORDERED, ADJUDGED, AND DECREED that summary judgment is GRANTED

 in favor of Dr. Uchendu on the issue of his status as a qualified health care provider at material

 times; and

        IT IS ORDERED, ADJUDGED, AND DECREED that Dr. Uchendu’s motion to dismiss

 for failure to state a claim (Rec. Doc. 10) is GRANTED, and the claim asserted against him is

 dismissed without prejudice as premature, consistent with the report and recommendation.

        Signed at Lafayette, Louisiana, this 8th day of June, 2021.



                                              _____________________________
                                              ROBERT R. SUMMERHAYS
                                              UNITED STATES DISTRICT JUDGE
